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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PRISCILLA MONTOYA, as administrator of     )
the estate of decedent, MIGUEL VEGA, and   )
on behalf of decedent’s next of kin,       )
                                           )
                             Plaintiff,    )
                                           )
                      vs.                  )            21 CV 4596
                                           )
The CITY OF CHICAGO, Illinois, a municipal )            Judge
Corporation, and Chicago Police Officers   )
Matthew KRZEPTOWSKI #14255 and             )
Zachary KUTA #12263,                       )            Magistrate Judge
                                           )
                             Defendants.   )

                                            COMPLAINT

        PRISCILLA MONTOYA, as administrator of the estate of decedent, MIGUEL VEGA, and

on behalf of decedent’s next of kin, by and through her attorneys, makes the following complaint

against Defendants CITY OF CHICAGO, Illinois and Chicago Police Officers Matthew

KRZEPTOWSKI #14255 and Zachary KUTA #12263 (collectively, “Defendant OFFICERS”):

                                  JURISDICTION and VENUE

1. This action is brought pursuant to 42 U.S.C. §1983 to redress the deprivation under color of law

    of Plaintiff’s rights as secured by the United States Constitution as well rights protected by

    Illinois common law.

2. This Court has jurisdiction over the action pursuant to 28 U.S.C. §§1331, 1343 and 1367.

3. Venue is proper under 28 U.S.C. §1391(b). The events giving rise to the claims asserted in this

    complaint occurred within this district.

                                               PARTIES

4. At the time of his death, decedent MIGUEL VEGA was 26-years-old.

5. Plaintiff PRISCILLA MONTOYA and decedent MIGUEL VEGA had two young children,
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   VEGA’s next of kin, F.V. and J.V. MONTOYA brings this action as Administrator of VEGA’s

   estate and as legal guardian of VEGA’s next of kin.

6. At all relevant times, Defendant OFFICERS are or were Chicago police officers, employed by

   Defendant CITY, acting under color of law and within the scope of their employment.

7. Defendant CITY is a municipal corporation duly incorporated under the laws of the State of

   Illinois, and was at all relevant times the employer and principal of Defendant OFFICERS.

   Should Plaintiff prevail on her claims, Defendant CITY is liable to Plaintiff as the principal on

   her state law claims pursuant to the doctrine of respondeat superior, and must indemnify Defendant

   OFFICERS on her federal claims pursuant to 745 ILCS 10/9-102.

                                               FACTS

8. On the evening of August 31, 2020, at approximately 10:45 p.m., Decedent MIGUEL VEGA

    was walking on the sidewalk in the Pilsen neighborhood near West 19th Street and South

    Loomis Street in Chicago, Illinois.

9. Also on the evening of August 31, 2020, Defendant OFFICERS were on duty and driving in an

    unmarked Chicago police vehicle.

10. At approximately 10:45 p.m., while Defendant OFFICERS were driving near West 19th Street

    and South Loomis, on information and belief, an unknown individual fired a gun from

    somewhere on the block striking Defendant OFFICERS’ police car.

11. When they heard the gunshots, everyone outside on the block began running away, including

    VEGA.

12. As people were running away, Defendant Officer KRZEPTOWSKI repeatedly fired his service

    weapon towards civilians, on a residential block, without a clear target and without knowing who

    was in his line of fire.

13. On information and belief, Defendant KUTA did not fire his weapon.



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14. On information and belief, Defendant KUTA was near Defendant KRZEPTOWSKI, and had

   an opportunity to intervene to stop Defendant KRZEPTOWSKI from recklessly discharging his

   weapon towards unarmed civilians, but he did not take any steps to intervene and protect

   decedent or others.

15. Decedent Miguel VEGA was struck in the back of the head by a bullet from Defendant Officer

   KRZEPTOWSKI’s gun.

16. When he was shot, VEGA was approximately 100 feet away from Defendant Officers and their

   police car.

17. VEGA was doing nothing illegal.

18. VEGA did not do anything to justify Defendant KRZEPTOWSKI’s shooting at him.

19. VEGA was unarmed.

20. KRZEPTOWSKI fired his service weapon on a public street with civilians in the line of fire in

   reckless disregard for innocent bystanders who were outside, such as the VEGA and others.

21. VEGA did not immediately die.

22. VEGA sustained grave physical and emotional injuries prior to his death and he endured great

   pain and suffering before he died.

23. This shooting was a reckless, unjustifiable, and unreasonable use of force by Defendant

   KRZEPTOWSKI.

24. VEGA was eventually transported to the hospital where he died of his injuries.

25. The killing of VEGA by Defendant KRZEPTOWSKI was without lawful cause or justification.

26. VEGA is survived by two minor sons, F.V. and J.V., who are his next of kin.

27. F.V. and J.V. have suffered and will continue to suffer grief, emotional pain and suffering, a loss

   of society, comfort, love, affection, support, protection, and other damages that have resulted

   from their father’s death.



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28. The acts described above by Defendant KRZEPTOWSKI were willful and wanton and done

   with reckless indifference to and/or callous disregard for VEGA’s health and safety and his life.

           The City of Chicago’s Biased and Broken Police Accountability System

29. The Chicago City Council has long been aware of the disciplinary failures plaguing the Chicago

   Police Department. At an October 2007 meeting of the Council’s Committee on the Budget and

   Government Operations, a Council member remarked of the Office of Professional Standards

   (“OPS”) that “there is no follow-up [of citizen complaints], and I think we have to move beyond

   the code of silence and the protection of the police officers and command staff at any cost.”

30. One study demonstrated that from 2001-2006, only 0.2% of complaints against Chicago police

   officers were meaningfully sustained (resulting in a suspension of a week or more), with 662

   officers having 11 or more complaints against them. The same study indicated that a brutality

   complaint was 94% less likely to be sustained in Chicago than in the rest of the nation.

31. In 2007, and in response to growing concern about the lack of police accountability in Chicago,

   the City Council enacted an ordinance in 2007 to replace OPS with a civilian-run agency called

   the Independent Police Review Authority (“IPRA”).

32. However, the five-year collective bargaining agreements entered into by the City of Chicago with

   the Fraternal Order of Police pre- and post-IPRA contained identical provisions preserving and

   protecting police officers in disciplinary investigations and preventing much needed police

   accountability for officer misconduct such as a “Bill of Rights” affording an accused officer

   certain rights that act as a barrier to police accountability, such as restrictions on the

   investigation of anonymous complaints; and limitations on the use of previous un-sustained

   complaints against an officer in subsequent disciplinary actions.

33. OPS investigators simply became IPRA investigators.

34. For years, IPRA used the OPS manual as its operational manual.



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35. For all intents and purposes, IPRA was a continuation of OPS.

36. Like OPS, IPRA was largely an agency that served to protect police officers. It failed to fairly

      and impartially investigate citizen complaints and it failed to promote its stated purposes of

      transparency and police accountability.

37. From 2007 to 2015, IPRA investigated nearly 400 police shootings and found only one to be

      unjustified.

38.    On December 9, 2015, former Chicago Mayor Rahm Emanuel delivered a speech to the City

       Council in which he admitted that a code of silence exists and has long existed within the

       Chicago Police Department, stating “[t]his problem is sometimes referred to as the thin blue

       line. Other times it is referred to as the code of silence. It is the tendency to deny. It is the

       tendency to ignore. It is the tendency in some cases to cover-up the bad actions of a colleague

       or colleagues.”

39.    During that speech, Emanuel admitted that “[s]upervision and leadership in the police

       department and the oversight agencies that were in place failed,” and that “Our city has been

       down this road before.”

40.    Emanuel created a task force to investigate both CPD and IPRA, headed by current Mayor

       Lori Lightfoot, and it was called the “Police Accountability Task Force” (“PATF”).

41.    In April 2016, the PATF found that IPRA “investigations are riddled with structural, cultural

       and procedural problems that cast doubt on the intentions and integrity of the investigating

       agencies and the larger oversight system. Misconduct goes uninvestigated despite the

       availability of information about these incidents; investigations are hampered by unreasonable

       and unjustified procedures; and the investigative agencies lack the resources and support to be

       effective, and show troubling signs of bias.” See PATF Report, at pg. 77.

42. In 2016, in the wake of the Laquan McDonald scandal which ultimately resulted in the removal



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      of the Mayor, the State’s Attorney, the Superintendent of Police and the head of IPRA, the City

      of Chicago again rebranded the agency tasked with investigating improper use of force

      allegations by its police officers. It is now called the Civilian Office of Police Accountability

      (“COPA”).

43.    The United States Department of Justice (“DOJ”) also undertook an investigation of the

       Chicago Police Department and released a report with its findings in January 2017.

44.    The DOJ report concluded that “CPD officers engage in a pattern or practice of using

       excessive force that is unjustified, disproportionate, and otherwise excessive.” See DOJ

       Investigation of Chicago Police Department Report, at pg. 11.

45.    The DOJ concluded that IPRA did not adequately investigate allegations of police misconduct.

       For example, the DOJ report found that IPRA sustained fewer than 2% of the 30,000 police

       misconduct complaints Defendant CITY received from 2011 to 2016. Id., at pg. 7

46.    The DOJ report also found that IPRA investigations were biased in favor of police officers

       accused of misconduct. Id. at pg. 67.

47.    The DOJ report concluded that “IPRA’s deficiencies…played a central role in allowing

       patterns of unconstitutional force to persist.” Id. at pg. 6.

48.    The DOJ report also found that CPD failed to train and supervise its officers when it came to

       use of force. Specifically, the DOJ found that “CPD has not provided officers with adequate

       guidance to understand how and when they may use force, or how to safely and effectively

       control and resolve encounters to reduce the need to use force.” Id. at pg. 5.

49.    The DOJ found “repeated incidents where officers exhibited poor discipline in discharging

       their weapons, reflecting disregard for innocent bystanders and constitutional standards.” Id. at

       pg. 28.

50.    The DOJ report became the basis of a legal action instituted against Defendant CITY by the



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      Illinois Attorney General’s Office, which led to a consent decree intended to reform the

      Chicago Police Department.

51.   In January 2019, Defendant CITY entered into a court-approved consent decree intended to

      reform the Chicago Police Department.

52.   An Independent Monitoring Team (“IMT”), overseen by Judge Robert M. Dow, Jr., assesses

      the City and CPD’s compliance with the Consent Decree in biannual reports. (Each report

      assesses a portion of the paragraphs of the Consent Decree and will assess all paragraphs at

      the end of three years.) The IMT has so far issued three reports with a clear trend across all

      three: the City and CPD have failed to comply with the reform schedule. In the first report,

      the City and CPD failed to meet even preliminary compliance standards for 52 of 67

      paragraphs of the Consent Decree. The City and CPD missed 37 of 50 deadlines. The City’s

      record in the second report was no better. In that report, filed on June 18, 2020, the City and

      CPD missed 52 of 74 deadlines. Finally, in the third report, filed on April 8, 2021, the City and

      CPD missed 24 of 43 deadlines.

53.   CPD continues to fail at reforming its unconstitutional practices and the City of Chicago

      continues to be deliberately indifferent to its failures.

54.   CPD’s unconstitutional policies and practices operate in situations like what happened in this

      case to encourage officers to shoot first and ask questions later, like Defendant

      KRZEPTOWSKI.

55.   The systemic failures by the City of Chicago to impartially investigate allegations of excessive

      force by its police officers; its long history of failing to discipline its officers for improper uses

      of force; and its failures meaningfully train or supervise its officers on acceptable uses of force,

      including deadly force, have all contributed to the continued uses of excessive force in the

      Chicago Police Department. These failures by the City have encouraged officers like



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      Defendant OFFICERS in their belief that they can engage in misconduct without suffering

      any consequences.

                                               COUNT I
                                   (42 U.S.C. § 1983, Excessive Force)

56.   Each of the preceding paragraphs is incorporated as if fully restated here.

57.   As described above, Defendant KRZEPTOWSKI subjected VEGA to excessive force in

      violation of the Fourth Amendment to the United States’ Constitution.

58.   Defendant KRZEPTOWSKI’s conduct was objectively unreasonable under the totality of the

      circumstances.

59.   Defendant Officer KUTA was aware of his partner’s misconduct, had a reasonable

      opportunity to intervene and stop it, but failed to do so.

60.   As a direct and proximate result of Defendant OFFICERS’ acts or omissions, VEGA

      experienced severe physical and emotional pain and suffering prior to his death, the loss of

      life, and his estate has incurred medical and funeral expenses.

        WHEREFORE, MONTOYA, as administrator of the estate of VEGA, prays for a

judgment against Defendant OFFICERS in a fair and just amount sufficient to compensate VEGA’s

estate for the injuries he suffered, plus punitive damages, as well as costs, attorneys’ fees, and such

other relief as is just and equitable.

                                               COUNT II
                                    (Policy Claim – Defendant CITY)

61.   Each of the preceding paragraphs is incorporated as if fully restated here.

62.   The misconduct of Defendant OFFICERS alleged above was undertaken pursuant to the

      policy and practice of Defendant CITY of Chicago.

63.   As a matter of both policy and practice, Defendant CITY encourages the type of police

      misconduct at issue in this case by failing to supervise, train, investigate, and/or discipline



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      Chicago police officers, and these failures constitute deliberate indifference.

64.   The following of Defendant CITY’s policies and persistent widespread customs and practices

      were the driving force behind Defendant OFFICERS’ misconduct and caused harm to

      VEGA:

              a. The CITY has failed to adequately and impartially investigate Chicago police
                 misconduct for decades.

              b. The CITY has failed to properly or meaningfully discipline its police officers for uses
                 of excessive force.

              c. The CITY has failed to properly or meaningfully train its officers on acceptable uses
                 of force, including deadly force.

              d. The CITY has failed to properly or meaningfully supervise its officers on their uses
                 of force, including deadly force.

65.   These policies, practices, or customs of Defendant CITY individually and collectively, have

      been maintained and/or implemented with deliberate indifference by Defendant CITY,

      encouraging and allowing Defendant OFFICERS to commit the wrongful acts they did in this

      case.

66.   These policies, practices, or customs of Defendant CITY individual and collectively have

      fostered an atmosphere and culture among Chicago police officers to shoot first and ask

      questions later because there will be no meaningful investigation or consequences if they get it

      wrong.

67.   These policies, practices, or customs of Defendant CITY, individually and/or collectively,

      were the moving force behind Defendant OFFICERS’ conduct, depriving of VEGA of his

      rights under the United States Constitution and his life.

        WHEREFORE, MONTOYA, as administrator of the estate of VEGA, prays for a

judgment against Defendant CITY in a fair and just amount sufficient to compensate VEGA’s estate

for his damages, as well as injunctive and declaratory relief and such other relief as is just and



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equitable.

                                           COUNT III
                           (740 ILCS 180/1 et seq., Illinois Wrongful Death)

68.    Each of the preceding paragraphs is incorporated as if fully restated here.

69.    At all relevant times, Defendant OFFICERS owed VEGA the duty to refrain from willful and

       wanton acts or omissions that could cause him suffering or death.

70.    As more fully described above, Defendant KRZEPTOWSKI breached his duty of care to

       VEGA by willfully and wantonly shooting on a public street from a great distance away,

       causing him to shoot and kill Decedent.

71.    As a direct and proximate result of one or more of the foregoing willful and wanton acts

       and/or omissions of Defendant KRZEPTOWSKI, Miguel VEGA died on August 31, 2020.

72.    VEGA was survived by his two minor sons, F.V. and J.V., who are his next of kin under

       Illinois law.

73.    As a result of the wrongful death of VEGA, his sons have suffered and will continue to suffer

       profound grief as well as the loss of VEGA’s support, society, and comfort in the future.

      WHEREFORE, MONTOYA, as administrator of the estate of VEGA, prays for a judgment

against Defendant CITY in a fair and just amount sufficient to compensate VEGA’s sons for the

damages they have suffered due to the loss of their father, and such other relief as is just and

equitable.

                                               COUNT IV
                                      (Illinois Survival Act Claim)

74. Each of the preceding paragraphs is incorporated as if fully restated here.

75. As more fully alleged above, Defendant KRZEPTOWSKI owed VEGA a duty to refrain from

   willful and wanton acts or omissions that could cause VEGA harm.

76. As more fully described above, Defendant KRZEPTOWSKI knowingly and intentionally and



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   without legal justification shot VEGA committing a battery against him.

77. As a direct and proximate result of one or more of the foregoing willful and wanton acts and/or

   omissions of Defendant KRZEPTOWSKI, VEGA suffered serious emotional and physical pain

   and suffering prior to his death on August 30, 2020.

        WHEREFORE, MONTOYA, as administrator of the estate of VEGA, prays for a

judgment against Defendant CITY in a fair and just amount sufficient to compensate VEGA’s estate

for the physical and emotional harm VEGA suffered prior to his death, and such other relief as is

just and equitable.

PLAINTIFF DEMANDS TRIAL BY JURY.

Respectfully submitted,

PRISCILLA MONTOYA, Plaintiff and
Administrator of the Estate of Miguel Vega

By: /s Torreya L. Hamilton
    One of Plaintiff’s Attorneys

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